















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






WR-37,145-02






EX PARTE SCOTT LOUIS PANETTI








ON SUBSEQUENT APPLICATION FOR WRIT OF HABEAS CORPUS 


CAUSE NO. 3310 IN THE 216TH DISTRICT COURT

GILLESPIE COUNTY





	Per Curiam.  					

		

			O R D E R



	This is a subsequent application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure Article 11.071, § 5.

	Applicant was convicted September 1995 of the offense of capital murder.  The jury
answered the special issues submitted under Article 37.071 of the Texas Code of Criminal
Procedure, and the trial court, accordingly, set punishment at death.  This Court affirmed
Applicant's conviction and sentence on direct appeal.  Panetti v. State, No. 72,230 (Tex.
Crim. App. Dec. 3, 1997)(not designated for publication).  This Court denied Applicant's
initial post-conviction application for writ of habeas corpus.  Ex parte Panetti, No. WR-37,145-01 (Tex. Crim App. May 28, 1998)(not designated for publication).  Applicant's
instant post-conviction application for writ of habeas corpus was received in this Court on
August 27, 2009.

	Applicant presents one allegation.  Applicant's claim fails to meet the dictates of
Article 11.071,§5.  Accordingly, we dismiss his application. 

	IT IS SO ORDERED THIS THE 21ST DAY OF OCTOBER, 2009.



Do Not Publish 


